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                                                                        August 1, 2022




VIA ECF

The Honorable Lewis A. Kaplan
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:     Carroll v. Trump, 20 Civ. 7311 (LAK) (JLC)

Dear Judge Kaplan:

        We write on behalf of Plaintiff E. Jean Carroll in the above-referenced action to
respectfully request that the Court enter the proposed protective order, attached as Exhibit A.

        Plaintiff intends to substantially complete her production of written discovery by August
3, 2022, consistent with Your Honor’s Scheduling Order. See Doc. No. 76. We have made clear
to counsel for Defendant that before Plaintiff is able to produce documents, an appropriate
protective order should be entered. To that end, on June 27, 2022, we sent Defendant’s counsel for
review a draft order modeled off standard protective orders used in this District. On July 21, 2022,
we raised the issue again in a meet-and-confer, reminding counsel of the impending substantial
completion deadline and the need to have a protective order in place. On July 29, 2022, we
followed up again by letter, advising Defendant’s counsel that absent a response by today, we were
prepared to submit Plaintiff’s proposed order to Your Honor. We suspect that one reason for
defense counsel’s lack of a response may be that they have indicated to us that they do not plan to
produce a single document in response to our written discovery requests.

        In order to comply with the schedule that Your Honor has set for discovery, and to
substantially complete our production of documents by August 3, 2022, we respectfully request
that the Court enter the proposed protective order to govern issues of confidentiality in this case.
We are currently considering our options in connection with Defendant’s apparent failure to
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produce any documents responsive to our discovery requests and will report to Your Honor as
appropriate in the near future.


                                                              Respectfully submitted,




                                                              Roberta A. Kaplan


cc:   Counsel of Record (via ECF)
